          Case 1:24-cr-00121-CRC         Document 63         Filed 01/21/25       Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

     v.                                               Case No. 24-cr-121-CRC

 STEPHEN MICHAEL BAKER,

      Defendant.

     UNITED STATES’ MOTION TO DISMISS INDICTMENT WITH PREJUDICE
       PURSUANT TO FEDERAL RULE OF CRIMINAL PROCEDURE 48(a)

          The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this motion.

          Pursuant to Federal Rule of Criminal Procedure 48(a), the government hereby moves to

dismiss the information against the defendant with prejudice. The government cites to the

Executive Order dated January 20, 2025, Granting Pardons and Commutation of Sentences for

Certain Offenses Relating to the Events at Or Near the United States Capitol on January 6, 2021,

as the reason for this dismissal.

                                                        Respectfully submitted,

                                                        EDWARD R. MARTIN, JR.
                                                        United States Attorney
                                                        D.C. Bar No. 481866


                                                        ____________/S/_______
                                                        ADAM M. DREHER
                                                        Assistant United States Attorney
                                                        Mich. Bar P79246
                                                        601 D Street, NW
                                                        Washington, D.C. 20530
                                                        adam.dreher@usdoj.gov
                                                        (202) 252-1706



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